                 Case 23-11131-TMH             Doc 853       Filed 12/07/23        Page 1 of 10




                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                      Debtors.1                        (Jointly Administered)

                                                              Hearing Date: January 8, 2024, at 10:00 a.m. (ET)
                                                       Objection Deadline: December 22, 2023 at 4:00 p.m. (ET)

         DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) EXTENDING THE
         DEBTORS’ EXCLUSIVE PERIODS TO FILE A CHAPTER 11 PLAN AND
          SOLICIT ACCEPTANCES THEREOF PURSUANT TO SECTION 1121
         OF THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF

          The above-captioned debtors and debtors in possession (“Debtors”), by and through their

undersigned counsel, hereby move the Court (the “Motion”) for entry of an order, substantially in

the form attached hereto as Exhibit A, pursuant to section 1121(d) of title 11 of the United States

Code (the “Bankruptcy Code”): (i) extending the period during which the Debtors have the

exclusive right to file a plan (the “Exclusive Filing Period”) by ninety (90) days through and

including March 6, 2024; and (ii) extending the period during which the Debtors have the

exclusive right to solicit acceptances thereof (the “Exclusive Solicitation Period” and, together

with the Exclusive Filing Period, the “Exclusive Periods”) by ninety-one (91) days2 through and

including May 6, 2024. In support of the Motion, the Debtors respectfully state as follows:




1    A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.
2   The 90th day falls on a Sunday.



SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH           Doc 853      Filed 12/07/23    Page 2 of 10




                                         Jurisdiction and Venue

          1.        The United States District Court for the District of Delaware has jurisdiction over

this matter pursuant to 28 U.S.C. § 1334, which was referred to the Court under 28 U.S.C. § 157

pursuant to the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012. This matter is a core proceeding within the

meaning of 28 U.S.C. § 157(b)(2), and the Debtors confirm their consent pursuant to Rule 9013-

1(f) of the Local Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy

Court for the District of Delaware (the “Local Rules”) to the entry of a final order by the Court in

connection with this Motion to the extent that it is later determined that the Court, absent consent

of the parties, cannot enter final orders or judgments in connection herewith consistent with Article

III of the United States Constitution.

          2.        Venue in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

          3.        The statutory bases for the relief requested herein are sections 105(a) and 554(a) of

the Bankruptcy Code and Bankruptcy Rules 6004 and 6007.

                                               Background

A.        General Background

          4.        On August 9 and August 21, 2023 (as applicable, the “Petition Date”), each Debtor

filed a voluntary petition for relief under chapter 11 of the Bankruptcy Code. The Debtors are

operating their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. No request for the appointment of a trustee

or examiner has been made in the Chapter 11 Cases.

          5.        On August 27, 2023, the Office of the United States Trustee (the “U.S. Trustee”)

appointed an Official Committee of Unsecured Creditors (the “Committee”) including the



                                                      2
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH           Doc 853      Filed 12/07/23     Page 3 of 10




following: U.S. Bank Trust Co. NA; Cosan U.S. Inc.; Sartorius Stedim North America Inc.; Hearst

Magazine Media Inc.; Wiley Companies; Park Wynwood LLC; and Allog Participacoes Ltda.

          6.        The Chapter 11 Cases are being jointly administered for procedural purposes only

pursuant to Bankruptcy Rule 1015(b) and Local Rule 1015-1.

          7.        A detailed description of the Debtors’ business and facts precipitating the filing of

the Debtors’ chapter 11 proceedings are set forth in the Declaration of Han Kieftenbeld in Support

of the Debtors’ Chapter 11 Petitions and First Day Relief (the “First Day Declaration”)

[Docket No. 18], incorporated herein by reference.3

          8.        On October 12, 2023, the Debtors filed the (i) Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors [Docket No. 523] and (ii) Disclosure

Statement with Respect to Joint Chapter 11 Plan of Reorganization of Amyris, Inc. and Its

Affiliated Debtors [Docket No. 524].

          9.        On October 15, 2023, the Court entered an Order (I) Setting Bar Dates for Filing

Proofs of Claim, Including Requests for Payment Under Section 503(B)(9), (II) Setting a Bar Date

for the Filing of Proofs of Claim by Governmental Units, (III) Establishing Amended Schedules

Bar Date and Rejection Damages Bar Date, (IV) Approving the Form of and Manner for Filing

Proofs of Claim, (V) Approving Notice of Bar Dates, and (VI) Granting Related Relief [Docket

No. 528] (the “Bar Date Order”). A Notice of Bar Date Notice of Deadlines for the Filing of (I)

Proofs Of Claim, Including Requests for Payment Pursuant to Section 503(B)(9) of the Bankruptcy

Code, and (II) Rejection Damages Claims was filed on October 15, 2023 [Docket No. 539] and

served upon all creditors and parties in interest. See Affidavit of Service, Docket No. 613.




3    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
     Declaration.


                                                      3
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH             Doc 853        Filed 12/07/23        Page 4 of 10




          10.       On December 1, 2023, the Debtors filed the (i) First Amended Joint Chapter 11

Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors [Docket No. 809-1] and (ii) First

Amended Disclosure Statement with Respect to Joint Chapter 11 Plan of Reorganization of

Amyris, Inc. and Its Affiliated Debtors [Docket No. 809-2].

          11.       On December 6, 2023, the Debtors file the (i) Second Amended Joint Chapter 11

Plan of Reorganization of Amyris, Inc. and Its Affiliated Debtors [Docket No. 826-1] (the “Plan”)

and (ii) Second Amended Disclosure Statement with Respect to Joint Chapter 11 Plan of

Reorganization of Amyris, Inc. and Its Affiliated Debtors [Docket No. 826-2] (the “Disclosure

Statement”).

          12.       A hearing to consider approval of the Disclosure Statement has been set for

December 12, 2023 at 10:00 a.m. Eastern Time.

                                                Relief Requested

          13.       By this Motion, the Debtors seek to extend the Exclusive Filing Period for an

additional ninety (90) days, from December 7, 2023 through and including March 6, 2024, and to

extend the Exclusive Solicitation Period for an additional nine-one (91) days, from February 5,

2024, through and including May 6, 2024.4 The Debtors further request that the order be without

prejudice to their right to seek additional extensions of the Exclusive Periods for cause in

accordance with section 1121(d) of the Bankruptcy Code.

                                                Basis For Relief

          14.       Section 1121 of the Bankruptcy Code provides for exclusive periods in which a

chapter 11 debtor may formulate and propose a confirmable plan of reorganization or liquidation



4
     The date that is 90 days after the expiration of the current Exclusive Solicitation Period is May 5, 2024, which
     falls on a Sunday.


                                                          4
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH          Doc 853      Filed 12/07/23     Page 5 of 10




and to solicit acceptances thereof without the disruption that might be caused by the filing of

competing plans by non-debtor parties. However, section 1121(d) allows the court to extend the

debtor’s exclusive periods for “cause.” Specifically, section 1121(d) provides that:

                    (1) Subject to paragraph (2), on request of a party in interest made
                    within the respective periods specified in subsections (b) and (c) of
                    this section and after notice and a hearing, the court may for cause
                    reduce or increase the 120-day period or the 180-day period referred
                    to in this section.

                    (2)(A) The 120-day period specified in paragraph (1) may not be
                    extended beyond a date that is 18 months after the date of the order
                    for relief under this chapter.

              (B) The 180-day period specified in paragraph (1) may not be
              extended beyond a date that is 20 months after the date of the order
              for relief under this chapter.
11 U.S.C. § 1121(d).

A.        Section 1121(d) of the Bankruptcy Code Permits
          the Court to Extend the Exclusive Periods for “Cause.”

          15.       A bankruptcy court has the discretion to extend a debtor’s exclusive periods based

upon the facts and circumstances of a particular case. See First Am. Bank of New York v. Sw.

Gloves & Safety Equip., Inc., 64 B.R. 963, 965 (D. Del. 1986); 203 N. LaSalle St. P’ship v. Bank

of Am., N.A., No. 99 C 7110, 1999 U.S. Dist. LEXIS 19425, at *12 (N.D. Ill. 1999); In re Mid-

State Raceway, Inc., 323 B.R. 63, 68 (Bankr. N.D.N.Y. 2005); In re Reetz, 61 B.R. 412, 414

(Bankr. W.D. Wis. 1986). Although the Bankruptcy Code does not define “cause” for purposes

of an extension request under section 1121(d), courts have looked to the legislative history of

section 1121(d) for guidance. See In re Gibson & Cushman Dredging Corp., 101 B.R. 405, 409

(E.D.N.Y. 1989); In re Amko Plastics, Inc., 197 B.R. 74, 77 (Bankr. S.D. Ohio 1996). Such

legislative history indicates that Congress did not intend that the initial exclusive periods be set in

stone. See Amko Plastics, 197 B.R. at 77 (finding that courts should have flexibility in dealing



                                                     5
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH               Doc 853     Filed 12/07/23        Page 6 of 10




with extensions of exclusivity); Gaines v. Perkins (In re Perkins), 71 B.R. 294, 297 (W.D. Tenn.

1987) (“The hallmark of . . . [section 1121(d)] is flexibility.”).

          16.       Instead, Congress intended that the debtor’s exclusive periods be of sufficient

length to afford the debtor a full and fair opportunity to negotiate, formulate, and draft a

confirmable chapter 11 plan without the disruptions that would occur with the filing of competing

plans. See Geriatrics Nursing Home, Inc. v. First Fidelity Bank, N.A., 187 B.R. 128, 133 (D.N.J.

1995) (“The opportunity to negotiate its plan unimpaired by competition . . . is meant to allow the

debtor time to satisfy all creditors and win support for its restructuring scheme and thus ensure its

survival as a business.”). Indeed, Congress has recognized that, depending on the facts and

circumstances of a particular case, an exclusive period of only 120 days may not provide a debtor

with adequate time in which to propose such plan:

                    The court is given the power, though, to increase . . . the 120-day
                    period depending on the circumstances of the case. [T]he bill allows
                    the flexibility for individual cases that is not available today. For
                    example, if an unusually large company were to seek reorganization
                    under chapter 11, the Court would probably need to extend the time
                    in order to allow the debtor to reach an agreement.

H.R. Rep. No. 95-595, 95th Cong. 1st Sess. 232 (1977) (footnotes omitted).

          17.       In determining whether cause exists for an extension of exclusivity, bankruptcy

courts consider a variety of factors, including:

                    a)          the size and complexity of the case;

                    b)          the necessity of sufficient            time   to   negotiate   and   prepare
                                adequate information;

                    c)          the existence of good faith progress toward reorganization;

                    d)          whether the debtor is paying its debts as they come due;

                    e)          whether the debtor has demonstrated reasonable prospects for filing a
                                viable plan;


                                                         6
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH               Doc 853      Filed 12/07/23    Page 7 of 10




                    f)          whether the debtor has made progress in negotiating with creditors;

                    g)          the length of time the case has been pending;

                    h)          whether the debtor is seeking the extension to pressure creditors; and

                    i)          whether unresolved contingencies exist.

See, e.g., In re Adelphia Commc’ns Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006); Cont’l Cas.

Co. v. Burns & Roe Enters., Inc., No. 05-2529 (KSH), 2005 U.S. Dist. LEXIS 26247, at *11–12

(D.N.J. 2005); In re Cent. Jersey Airport Servs., LLC, 282 B.R. 176, 184 (Bankr. D.N.J. 2002);

In re Dow Corning Corp., 208 B.R. 661, 664–65 (Bankr. E.D. Mich. 1997).

          18.       Importantly, however, not all of the above factors are necessary or relevant in

determining whether to grant an extension of the exclusivity periods in a particular case. See, e.g.,

In re Express One Int’l, Inc., 194 B.R. 98, 100–01 (Bankr. E.D. Tex. 1996) (relying upon only

four factors in determining whether cause exists to support an extension); In re United Press Int’l,

Inc., 60 B.R. 265, 269 (Bankr. D.D.C. 1986) (finding that cause existed to extend exclusivity based

on only three factors). As explained more fully below, the application of the above factors to the

facts and circumstances of these chapter 11 cases demonstrates that good cause exists to extend

the Debtors’ Exclusive Periods pursuant to section 1121(d) of the Bankruptcy Code.

B.        Cause Exists for an Extension of the Debtors’ Exclusive Periods.

          19.       Pursuant to this Motion, the Debtors are seeking a further extension of the

Exclusive Periods. For the reasons set forth below, cause exists for such an extension.

          20.       The Debtors satisfy the various factors that courts rely on in connection with

granting extensions of the Exclusive Periods as set forth in section 1121(d) of the

Bankruptcy Code.

                    •           The Debtors Have Made Good-Faith Progress. The Debtors have obtained
                                first day relief to ensure a smooth transition into chapter 11, The Debtors

                                                          7
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH               Doc 853      Filed 12/07/23     Page 8 of 10




                                obtained final approval of debtor in possession financing. The Debtors filed
                                their schedules of assets and liabilities and statements of financial affairs,
                                among other tasks and set a bar date for general unsecured claims. The
                                Debtors have evaluated their executory contracts and real property leases
                                and filed several motions to reject unnecessary executory contracts and
                                leases. The Debtors have abandoned unnecessary or burdensome assets.
                                The Debtors have responded to numerous requests for information from a
                                number of key constituents. The Debtors have also conducted a sale process
                                that resulted in the successful bids for the sale of certain of the Debtors’
                                Brand Assets. A hearing to approve the sales has been set for December
                                12, 2023 at 10:00 a.m. Eastern Time.

                    •           Extending the Exclusivity Periods Will Not Prejudice Creditors. Among
                                other activities, the Debtors are requesting an extension of the Exclusive
                                Periods to focus on working with estate professionals to negotiate and
                                confirm a consensual chapter 11 plan. Continued exclusivity will permit
                                the Debtors to maintain flexibility so that a competing plan by another third
                                party does not derail the parties’ efforts towards a plan process. All
                                stakeholders will benefit from such continued stability and predictability.

                    •           The Debtors Have Demonstrated Reasonable Prospects for Filing a Viable
                                Plan. The Debtors have negotiated with and reached an agreement in
                                principle with their DIP and prepetition lender, the Official Committee of
                                Unsecured Creditors, and the Ad Hoc Noteholders Group and have filed the
                                Plan and Disclosure Statement which reflect that agreement. The Debtors
                                continue to work in good faith with other parties in an effort to arrive at a
                                consensual Plan. A hearing to approve the Disclosure Statement is
                                scheduled for December 12, 2023 at 10:00 a.m. Eastern Time. The Debtors
                                will request a confirmation hearing date of January 24, 2024 subject to the
                                Court’s availability.

                    •           The Debtors are Not Pressuring Creditors by Requesting an Extension of
                                the Exclusive Periods. The Debtors have no ulterior motive in seeking an
                                extension of the Exclusive Periods. The requested relief is not being sought
                                to pressure the Debtors’ creditors, and the Debtors submit that no pressure
                                would result from the requested extension of the Exclusive Periods.

                    •           The Chapter 11 Cases are Approximately Four Months Old. The Debtors’
                                request for an extension of the Exclusive Periods is the Debtors’ first such
                                request and comes approximately four months after the Petition Date. As
                                discussed above, during this short time, the Debtors have accomplished a
                                great deal: they concluded an auction for the sale of the Debtors’ Brand
                                Assets, obtained entry of the Bar Date Order and provided notice of the bar
                                dates to creditors, are continuing to explore the disposition of their other
                                remaining assets, and are working toward the goal of pursuing a confirmed
                                plan.


                                                          8
SF 4857-9431-5925.1 03703.004
                 Case 23-11131-TMH               Doc 853     Filed 12/07/23     Page 9 of 10




          21.       Moreover, termination of the Exclusive Periods would adversely impact the

substantial progress made by the Debtors in the chapter 11 cases to date.

          22.       Accordingly, the Debtors submit that good cause exists to extend the Exclusive

Periods and request that the Court grant the Motion.

                                                       Notice

          23.       Notice of this Motion will be provided to the following parties, or, in lieu thereof,

their counsel, if known: (a) the Office of the U.S. Trustee for the District of Delaware; (b) counsel

to the Committee; (c) counsel to the DIP Lenders, DIP Agent, and the Foris Prepetition Secured

Lenders; and (d) any party that requests service pursuant to Bankruptcy Rule 2002. The Debtors

submit that no other or further notice need be provided.


                                                 No Prior Request

          24.                   No previous request for the relief sought herein has been made to this Court

or any other Court.


          WHEREFORE, the Debtors respectfully request that this Court enter an Order granting the

Motion and granting such other and further relief as the Court deems just and proper.




                                                         9
SF 4857-9431-5925.1 03703.004
                Case 23-11131-TMH   Doc 853    Filed 12/07/23    Page 10 of 10




 Dated: December 7, 2023                      PACHULSKI STANG ZIEHL & JONES LLP

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                                          10
SF 4857-9431-5925.1 03703.004
